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 8                        UNITED STATES DISTRICT COURT

 9                     EASTERN DISTRICT OF CALIFORNIA
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11   JESSE VANG, et al,                No.   2:16-cv-2172-JAM-CMK
12                Plaintiffs,
13         v.                          ORDER GRANTING DEFENDANT
                                       SISKIYOU COUNTY’S MOTION TO
14   SHERIFF JON LOPEY, et al,         DISMISS
15                Defendants.
16

17         Defendant Siskiyou County (“the County”) moves to dismiss

18   Plaintiffs’ Second Amended Complaint (“SAC”).       ECF No. 59. 1

19   Plaintiffs oppose the motion.    ECF No. 61.   For the reasons set

20   forth below, the Court GRANTS the County’s motion to dismiss. 2

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       The County submitted a Request for Judicial Notice along with
     its Motion to Dismiss, asking the Court to take judicial notice
25   of thirteen documents on this case’s docket. ECF No. 59-2. The
26   Court does not need to take judicial notice of documents on its
     own docket.
     2
27     This motion was determined to be suitable for decision without
     oral argument. E.D. Cal. L.R. 230(g). The hearing was
28   scheduled for April 4, 2017.
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 1                                I.   FACTS

 2        The Court takes the facts alleged by Plaintiffs—several

 3   Hmong individuals who own property in the County—as true for

 4   purposes of this motion.

 5        After an increase in the County’s Hmong population, the

 6   County “launched an attack” against Plaintiffs.       SAC ¶ 5.     The

 7   Board of Supervisors passed two ordinances placing restrictions

 8   on growing medical marijuana.     SAC ¶ 6.    The County

 9   discriminatorily enforced these ordinances against Asian
10   individuals.   SAC ¶ 11.
11        In early 2016, Plaintiffs “began registering to vote in
12   Siskiyou County, using the County-assigned parcel numbers of
13   their legally owned property as their residential address.”          SAC
14   ¶ 18.   The County Clerk flagged these voter registration forms
15   for possible voter fraud.    SAC ¶ 19.
16        On two days in June 2016, County officers visited
17   Plaintiffs’ properties, and at least one officer carried an
18   assault rifle with him.    SAC ¶ 32.   These visits scared at least
19   five plaintiffs out of voting in the June or November 2016
20   elections.   SAC ¶¶ 54, 70, 82, 88, 108.

21        The restrictions on marijuana cultivation passed as Measures

22   T and U in the June election.     SAC ¶ 36.    Since then, “notices of

23   nuisance violations have been issued overwhelmingly to Asian

24   property owners as opposed to white property owners.”        Id.

25        In September 2016, the County “executed a series of search

26   warrants” on at least some Plaintiffs’ properties.         SAC ¶ 42.

27   The searching officers “handcuffed and held at gunpoint”

28   individuals who were present during the searches and “ransacked”
                                        2
 1   the properties of those who were not present.    SAC ¶ 43.

 2        Plaintiffs bring four claims against the County in their

 3   SAC: (1) unreasonable search and seizure, (2) violation of the

 4   Fourteenth Amendment, (3) municipal liability on a failure-to-

 5   train theory, and (4) employer liability.    SAC at 29-35.

 6        The Court dismissed Plaintiffs’ fourth claim for “employer

 7   liability” against the County with prejudice in its January 13,

 8   2017 Order (“1/13/17 Order”).   1/13/17 Order at 7.   Accordingly,

 9   the Court strikes the fourth claim from the SAC.
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11                             II.   OPINION
12        A.   First Cause of Action: § 1983 Unlawful Search and
               Seizure Claim
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14        A local government cannot be held liable pursuant to § 1983

15   under a theory of “respondeat superior.”     Christie v. Iopa, 176

16   F.3d 1231, 1234-35 (9th Cir. 1999).    Instead, municipalities are

17   liable only when action pursuant to official municipal policy

18   causes a constitutional violation.    Id. at 1235.   The “official

19   policy” requirement “distinguishe[s] acts of the municipality
20   from acts of employees of the municipality,” and thereby limits

21   liability to actions for which the municipality is actually

22   responsible.   Id. (emphasis in original).

23        Plaintiffs do not identify a specific unconstitutional

24   municipal policy or custom which caused this alleged

25   constitutional violation in their first § 1983 claim. Plaintiffs

26   “kitchen-sink” approach to alleging a custom or policy on which

27   to base this claim is insufficient.    Conclusory allegations do

28   not constitute specifically identified County policies as
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 1   required.

 2     The Court has already dismissed this claim as brought against

 3   the County once with leave to amend.      1/13/17 Order at 7.   The

 4   Court finds that any further attempt by Plaintiffs to properly

 5   plead plead this claim would be futile.      The Court therefore

 6   dismisses Plaintiffs’ first § 1983 claim against the County with

 7   prejudice.
          B.    Second Cause of Action: § 1983 Fourteenth Amendment
 8              Claim
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          Plaintiffs attempt to bring a Fourteenth Amendment claim
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     against the County.     SAC at 31.   Plaintiffs allege the County
11
     had a “practice or custom of targeting Asian residents”
12
     beginning in 2015.    SAC ¶ 132.     Plaintiffs allege this targeting
13
     has denied Plaintiffs the “right to the quiet enjoyment and use
14
     of property.”   SAC ¶ 133.
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          Plaintiffs do not clarify in their SAC under which
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     Fourteenth Amendment clause they purport to bring their second
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     cause of action.   The SAC alleges that the County was
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     “deliberately indifferent” to the health and safety of
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     Plaintiffs, which suggests a due process claim.      SAC ¶ 130.
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     Plaintiffs’ opposition brief, however, argues the County “began
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     enforcing the local ordinance disproportionately against Asian
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     American property owners,” which suggests an equal protection
23
     claim.   Opp’n at 12.
24
          The allegations in the SAC regarding Plaintiffs’ Fourteenth
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     Amendment claim do not sufficiently put the County on notice of
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     what type of claim it must defend against.      See Nicolescu v.
27
     Faith & Freedom Coal., 21 F.3d 1114 (9th Cir. 1994) (“Rule 8
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                                          4
 1   requires sufficient allegations to put defendants fairly on

 2   notice of the claims against them.”)     The Court therefore

 3   dismisses the second claim brought against the County.    Because

 4   Plaintiffs could potentially assert an equal protection claim

 5   based on the alleged facts, the Court grants Plaintiffs one last

 6   opportunity to amend its Fourteenth Amendment claim against the

 7   County.
          C.    Third Cause of Action: § 1983 Municipal Liability
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          Plaintiffs make the same allegations of municipal liability
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     in their SAC as they did in their original complaint.    In both,
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     Plaintiffs allege the County’s training policies “were not
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     adequate to train its sheriff’s deputies and police officers to
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     handle voter fraud investigations and building safety code
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     enforcement.”   Compl. ¶ 115, SAC ¶ 135.
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          In the Court’s 1/13/17 Order, it outlined the elements of a
15
     failure-to-train claim.   1/13/17 Order at 8.   Yet Plaintiffs
16
     still failed to “identify any specific training that was
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     deficient, or how the policy amounted to deliberate
18
     indifference” in their SAC.   See id. at 7-8 (citing Molina v.
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     City of Visalia, 2014 WL 1117005, at *4 (E.D. Cal. Mar. 14,
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     2014)).   Because the Court has already given Plaintiffs the
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     opportunity to amend this claim, the Court dismisses Plaintiffs’
22
     third cause of action with prejudice.
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                               III.   ORDER
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          For the reasons set forth above, the Court GRANTS the
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     County’s motion to dismiss.   The first, third, and fourth claims
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     are dismissed with prejudice.    The second claim is dismissed with
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 1   leave to amend.   Plaintiffs shall file their Third Amended

 2   Complaint within twenty days of this Order.   The County shall

 3   file its responsive pleading twenty days thereafter.

 4        IT IS SO ORDERED.

 5   Dated: April 27, 2017

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